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UN|TED STATES BANKRUPTCY COURT
FOR THE D|STR|CT OF CCLORADO
Bankruptcy Judge Thomas B. McNamara

ln re:

Bankruptcy Case No. 19-10286 TBM
11380 SM|TH RD LLC. Chapter 7
Debtor.

 

ORDER D|SM|SS|NG CHAPTER 7 CASE

 

Before the Court are two motions to dismiss this Chapter 7 case. The primary
secured lender, 11380 East Smith Rd lnvestments, LLC (the “Lender”) filed its “Motion to
Dismiss |nvo|untary Bankruptcy Case” (Docket No. 7, the “Lender’s Motion”) on January
25, 2019. The Debtor sought an extension of time to respond to the Lender’s Motion,
which the Court granted. On March 1, 2019, the Debtor filed a “Notice of |ntent Not to
Objec ” (Docket No. 56, the “Notice”) Wherein the Debtor stated it did not oppose
dismissal of this case.

On March 11, 2019, the Debtor filed the second motion to dismiss: “Motion to
Dismiss Case or Alternative Re|ief” (Docket No. 63, the “Debtor’s Motion”). |n its related
Motion to Shorten the Notice Period (Docket No. 66, the “Motion to Shorten”), the Debtor
noted that the Lender did not take any action as is required by L.B.R. 9013-1(c) to obtain
an order on the Lender’s Motion and the Debtor’s Notice. The record in this case reflects
that, to date, the Lender has not sought an order granting Lender’s Motion.

The Debtor asserts it gave proper notice of Debtor’s Motion to creditors and parties
in interest, including the Chapter 7 Trustee, and no objection was fi|ed. Accordingly, the
Court:

ORDERS that the Debtor’s Motion to Dismiss (Docket No. 63) is GRANTED;
FURTHER ORDERS that this Chapter 7 case be, and is hereby D|SM|SSED; and

FURTHER ORDERS that the Clerk of Court shall cause notice of this Order
dismissing this Chapter 7 case be given to all creditors and parties in interest
using such addresses as are available in the record.

DATED this 28'th day Of March, 2019.
BY Tl;IE COURTI

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w Thomas B. McNarr'iarg
United States Bankruptcy Judge

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